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mM Gmail John Steinkamp

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Jennifer Fujawa Asbury Telephone: 317-780-8300
Attorney at Law Fax: 317-217-1320

5214 S. East Street, Suite D-1

Indianapolis, IN 46227

 

January 3, 2020
Capital Accounts, LLC
800-296-3317
*via fax only

Greetings:

Please consider this letter to be formal written notice of my client’s legal representation
with my office.

Please terminate all communications with my client.

Pertinent Information Regarding Client’s Files with your Company:
Debtor Name: Jayella Jackson (f/k/a Hamilton)

Debtor Address:

Debtor SSN: -5744

Jayella Jackson (f/k/a Hamilton) retained my office for assistance with debt relief. Please
direct any future correspondence to me directly, and not to the client. Kindly refrain from any
direct or indirect contact with the above-referenced client(s) regarding any and all debts your
company may be pursuing.

Prohibited contacts include, but are not limited to, all forms of communication by letter,
fax, phone, email, text messages, any communication through social media platforms or by any
other means. This restricts any contact with any employer, family member, friend, or other
creditor of Jayella Jackson (f/k/a Hamilton). These rules are pursuant to 15 U.S. Code § 1692,
under the Fair Debt Collection Practices Act.

My client has also instructed me to advise that they dispute the validity of the debt(s) you
are pursuing.

Thank you for your time and if you find yourself with questions please contact me.

Sincerely,

Jennifer F. Asbury

Attorney at Law

John Steinkamp & Associates
JFA/kja
